                              EXHIBIT C




Case 5:17-cv-00097-EKD-JCH Document 45-3 Filed 03/21/18 Page 1 of 23 Pageid#: 547
                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                       Harrisonburg Division



   JOHN DOE 1, et al., by and through their
   next friend, NELSON LOPEZ,on behalf of
   themselves and all persons similarly situated,
                                                        CIVIL ACTION
          Plaintiffs,

   v.                                                   Case No.: 5:17-cv-00097-EKD

   SHENANDOAH VALLEY JUVENILE
   CENTER COMIVIISSION,                                 Honorable Elizabeth K. Dillon

          Defendant.


                                             AFFIDAVIT

   COMMONWEALTH OF VIRGINIA
   COUNTY OF AUGUSTA:

          This day, Emily Twigg, Case Manager for Shenandoah Valley Juvenile Center
   Commission, appeared before the undersigned notary public and made oath to the following
   based on her personal knowledge:

          1.      I am employed as a case manager for Shenandoah Valley Juvenile Center
   Commission ("SVJC").
          2.      I am the case manager for Plaintiff John Doe 2("Doe 2")and Plaintiff John Doe 3
   ("Doe 3").
          3.      As their case manager, I supervise and oversee all aspects of Doe 2 and Doe 3's
   care and placement at SVJC.
          4.      I am a custodian of and have access to Doe 2 and Doe 3's case files in the
   performance of my employment responsibilities.
          5.      All records referenced by and attached to this affidavit:
         (a)      Are true, accurate, and complete copies of records regularly maintained by SVJC
                  as part of Doe 2 and Doe 3's case files in the ordinary course of business;




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          (b)     Are made at or near the time ofthe actions and events described therein;
          (c)     Are prepared using information provided by persons with knowledge of the
                  actions and events described therein; and
          (d)     Are made and maintained as a regular practice by SVJC.
          6.      Doe 2 was originally placed at BCFS Harlingen Shelter before being transferred
   to a higher security placement at BCFS San Antonio due to behavioral problems.
          7.      Doe 2 was involved in 16 significant behavioral incidents during the 90-day
   period he was at BCFS San Antonio.
          8.      On September 30, 2017, Doe 2's placement was stepped up again and he was
   transferred to SVJC due to his aggressive behavior at BCFS San Antonio.
          9.      Doe 2 underwent a psychological assessment and evaluation with Dr. Joseph
   Gorin on November 15, 2017.
          10.     Doe 2 has been evaluated and treated by psychiatrist Timothy J. Kane, M.D., on
   numerous occasions while placed at SVJC.
          11.     Doe 2 has participated in one-on-one and group counseling sessions with a
   licensed professional counselor on approximately 86 occasions while placed at SVJC.
          12.     On October 2, 2017, Doe 2 received an LEP Education Assessment and Plan, a
   copy of which is attached as Exhibit C-1.
          13.     Doe 2 has been encouraged to attend classes taught in English at SVJC but has
   declined to do so.
          14.     Doe 2 has regularly attended physical education and outdoor recreation in the
   courtyard outside the building while at SVJC.
          15.     A copy of a report from Doe 2's file is attached as Exhibit C-2 that describes the
   events which may correspond with Doe 2's allegation that he was thrown to the wall while in
   handcuffs after shouting profanities in class. As stated in the report:
          (a)     On November 10, 2017, Doe 2 continued to yell, curse, and ball his fists in a
                  threatening manner while in class despite several verbal warnings from staff.
          (b)     Doe 2 refused a request to take a timeout in his room.
          (c)     Doe 2 was placed in physical restraint to remove him from the classroom once all
                  less intrusive measures were exhausted.




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          (d)     Doe 2 punched staff in the stomach and attempted to bite and kick staff during the
                  incident.
          (e)     While in his room, Doe 2 started banging his head on the slab under his bed and
                  stated "I am going to blame this on you" to staff.
          (~      Doe 2 also started tightening the mechanical restraints on his wrists.
          (g)     Doe 2 declined staff's request to loosen the restraints and stated "I am going to
                  say you did this to me."
          (h)     Doe 2 declined staff's offer of medical assistance for the marks on his head and
                  wrists.
          16.     A copy of a report from Doe 2's file is attached as Exhibit C-3 that describes the
   events which may correspond with Doe 2's allegation oftaking a swing at staff and being placed
   in the emergency restraint chair. As stated in the report:
          (a)     On November 18, 2017, Doe 2 refused to enter his room after several verbal
                  requests from staff.
          (b)     Doe 2 was placed in physical restraint after less intrusive measures were
                  exhausted.
          (c)     Doe 2 struggled against the restraints and attempted to hit, kick, and spit on staff.
          (d)     Doe 2 told other UAC to "go offl'.
          (e)     Doe 2 was placed in a spit mask to protect stafffrom being spit upon or bitten.
          (~      Doe 2 began twisting his wrists in mechanical restraints and leaving marks on his
                  wrists.
          (g)     Doe 2 resisted staff's efforts to loosen the restraints.
          (h)     After several unsuccessful attempts to calm him down, Doe 2 was placed in the
                  emergency restraint chair.
          (i)     Doe 2 head-butted the wall and chewed a hole in the spit mask while being placed
                  in the chair.
          (j)     Doe 2 spat through the hole in the spit mask into the face of a staff member.
          (k)     After being taken to a separate room to cool down, Doe 2 stated "wait until I tell
                  everyone what you did, I am going to get you."
          (1)     Doe 2 was removed from programming for 24 hours following this incident.




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          17.     A copy of a report from Doe 2's file is attached as Exhibit C-4 that describes the
   events which may correspond with Doe 2's allegation that he was poked in the ribs with a pen
   while being restrained. As stated in the report:
          (a)     On October 16, 2016, Doe 2 was given a timeout after calling his teacher a
                  "pinche puta."
          (b)     Doe 2 refused several verbal requests by staffto walk to his room.
          (c)     Doe 2 refused and stated that he "did not need a fucking time out."
          (d)     Doe 2 was placed in physical restraint once all less intrusive measures had been
                  exhausted.
          (e)     Mechanical restraints were applied after Doe 2 continued to resist while
                  threatening and trying to kick staff.
          (fl     The physical and mechanical restraints were removed once Doe 2 was placed in
                  his room.
          (g)     Doe 2 was in restraints for approximately three minutes.
          (h)     After returning to his room, Doe 2 ripped up his shirt and pants and began making
                  superficial bite marks on his left forearm.
          (i)     Doe 2 received medical treatment following the incident.
          (j)     SVJC reported Doe 2's allegations of being stabbed with a pen to Child Protective
                  Services for an investigation.
          18.     SVJC has not received notice of an adverse outcome or determinati'~;from Child
   Protective Services or the Department of Juvenile Justice with respect to any of Doe 2's reported
   allegations.
          19.     Doe 3 was originally placed at St. Peter-St. Joseph's Children's Home.
          20.     Doe 3 was transferred to a higher security placement at BCFS San Antonio after
   he disclosed his involvement in an assault in his home country that led to the death ofthe victim.
          21.     Doe 3 restated his involvement in the assault while at BCFS San Antonio and was
   stepped up again and transferred to a higher security placement at SVJC on August 4,2017.
          22.     SVJC staff had no involvement in Doe 3's transportation to SVJC from his prior
   placement.
          23.     Doe 3 underwent a psychological evaluation by Dr. Gustavo E. Rife on November
   21, 2017.




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          24.     Doe 3 has been evaluated and treated by psychiatrist Timothy J. Kane, M.D., on
   approximately nine occasions while placed at SVJC.
          25.     Doe 3 has participated in one-on-one and group counseling sessions with a
   licensed professional counselor on approximately 123 occasions while placed at SVJC.
          26.     Doe 3 has assaulted other juveniles on multiple occasions while at SVJC.
          27.     A copy of a report from Doe 3's file is attached as Exhibit C-5 that describes the
   events which may correspond with Doe 3's allegation that he was abused and placed on
   restriction for holding the door open for his art class. As stated in the report:
          (a)     On October 5, 2017, Doe 3 was repeatedly pulling on door handles and talking in
                  the hallway while in route to art class.
          (b)     Despite several requests from staff, Doe 3 continued to talk and curse staff while
                   walking down the hallway.
          (c)     Doe 3 refused staff's request that he return to his room for a timeout.
          (d)     Doe 3 was placed in physical restraint once less intrusive measures were
                  exhausted.
          (e)     Doe 3 resisted restraint and caused himself and staffto fall to the floor.
          (~      Doe 3 was placed in his room without further issue and temporarily removed from
                  school programming.
          (g)     Doe 3's clothes, mattress and blanket were not removed from his room.
           28.     A copy of a report from Doe 3's file is attached as Exhibit C-6 that describes the
   events which may correspond with Doe 3's allegation that he was swarmed by staff with a shield
   for putting paper over the window in his door for privacy. As stated in the report:
          (a)      On August 20, 2017, Doe 3 failed to acknowledge staff and stand for the morning
                   count by staff.
          (b)      Upon entering Doe 3's room to check his safety, staff discovered that Doe 3 had
                   ripped up all of his clothes, bedding, books, and other personal items in his room.
          (c)      Doe 3 later covered the window of his door.
          (d)      Doe 3 refused several verbal requests by staff to uncover the window so that they
                   could complete their visual safety checks.




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           (e)     Once less intrusive measures were exhausted, staff entered Doe 3's room and
                   restrained him while the window was uncovered and the remnants of his
                   destroyed property were removed.
           29.     The incident described above in Paragraph 28 is the only one in which Doe 3 has
    been temporarily without a mattress.
           30.     In addition to the incident described above in Paragraph 28, Doe 3 has been
    temporarily without a shirt or pants after destroying them on two other occasions.
           31.     No mechanical restraints were used on Doe 3 while at SVJC.
           32.     Doe 3 was never placed in the emergency restraint chair while at SVJC.
           33.     SVJC has not received notice of an adverse outcome or determination from Child
    Protective Services or the Department of Juvenile Justice with respect to any of Doe 3's reported
    allegations.




                                                        Emily Twigg                          ..4 ,,:,1^ ~. ~, '•,
                                                                                                    ]"",.
                                                                                                     •-_'.0

    Subscribed and sworn before me this~4 day of March 2018 by Emily Twigg                    '~v ~~':'`'~~ ~'`'~.~
                                                                                         .C~'~     t~:; c~'Cj
     My commission expires       ~f 3l ~ Z,oZ~                                           ;
                                                                                         r r~~='~~;,
                                                                                                . ~....` `^•, ~.~``~l
                                                                                                             ~~;;
    Notary Registration No.     `~ 6 SS Z"1 ~5                                              ~~''~~;'r'~',v'~~~•~`~~
                                                                                                             ~




                                                               •,~,•,   - r,-.     -




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                                                                  EXHIBIT
                                                                    c-i

   LEP EDUCATION ASSESSMENT AND PLAN
                                                                                       $HENANdOAN VALLEY
                                                                                       JUVENILE CENTER

   ~~i~1~7~~~i~G ►ril~i

   DATE OF BIRTH:

   GRADE: 10th

   HOME LANGUAGE: Spanish

   EDUCATIONAL/PERSONAL SUMMARY:                        is from Mexico, but has lived and attended school in
   the United States his entire life. He last attended school in May of 2017, through the end of the 2016-
   2017 school year, and expressed interest in earning a high school diploma, attending college or a
   vocational/ trade school, joining the military, and finding immediate employment.           took R.O.T.C.
   classes in his previous school, and says that his strengths include playing football, painting, and fixing
   things. In his free time, he says he likes to go out with his friends and go to parties. He mentions that
   his mother is most important to him and that his favorite school subject is Math. In addition,       says
   that he would like to improve his skills in reading, Math, writing, Social Studies, Science, spelling, test
   taking, paying attention, getting along with his teachers, getting along with peers, Health, completing
   work on time, and English. Lastly, when asked how frequently he likes to read,            responded that
   he sometimes    reads for pleasure.

   COMPOSITE PROFICIENCY LEVELS AND GOALS:                           will attend school daily; participate in
   learning activities developed to foster the acquisition of English and high school content; learn basic
   conversational and survival English words and phrases; follow rules and routines, maintain respectful
   interactions with faculty, staff, and peers. Grade reports will be posted at 9 week intervals or when
   student is released from the facility.

   Speaking: Level 5
     • Give multimedia oral presentations on grade-level material
     • Engage in debates on content-related issues using technical language
     • Explain metacognitive strategies for solving problems (e.g., "Tell me how you know it.")
     • Negotiate meaning in pairs or group discussions

   Listening: Level 2
     • Match or classify oral descriptions to real-life experiences or visually represented, content-related
       examples
     • Sort oral language statements according to time frames
     • Sequence visuals according to oral directions

   Reading: Level 1
     • Match visual representations to words/phrases
     • Read everyday signs, symbols, schedules, and school-related words/phrases
     • Respond to WH-questions related to illustrated text
     • Use references (e.g., picture dictionaries, bilingual glossaries, technology)

   Writing: Level 1
     • Label content-related diagrams, pictures from word/phrase banks
     • Provide personal information on forms read orally
     • Produce short answer responses to oral questions with visual support




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   LEP EDUCATION ASSESSMENT AND PLAN
                                                                                 SH~NANDOAH VALLEY
                                                                                 JUVENILE CENTER
     • Supply missing words in short sentences

   COMBINED PROFICIENCY LEVEL(ADJUSTED FOR GRADE LEVEL): 1.0



   INSTRUCTIONAL RECOMMENDATIONS:
   -ELL/ Bilingual Instruction
   -Website with curriculum: https://www.wida.us/standards/
   Mainstream when criteria met; attend Physical Education, Spanish Literacy/Technology, and Art/Music
   Therapy daily.

   ASSESSMENT/W-APT TEST DATE: 10/2/2017

   PROGRAM ENTRY DATE: 9/29/2017




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                                                                                                                                                                                                      EXHIBIT

                                                                                                                                                                                                         C-2
    I                                       First Name:                                                                         Status:                          ADMITTED
                                            Last Name:                                                                           AKA:

                                            Date of Birth:                                                                      Gender:                          M
                                            A No.:                            231983478                                          LOS:                            44
                                            Age:                              16                                                 LOC:                            179
                                            Child's Country of Birth:         Mexico                                            Current Program:                 Shenandoah Valley Juvenile Center
                                            Admitted Date:                    9/30/2017                                          Current Location:               Staunton, VA
                                                                              5/17/2017
                                            ORR Placement Date:


    Event Type:           SIR Event
    Date of Event:        11/10/2017                                     Time of Event:     10:20 AM                                           Event ID:          113108


    Synopsis of           UC was removed for threatening behavior
    Event:


        C" Emergenty SlR                     (~ SIR

    SIR

        r Abuse/Neglect in ORR                                          -~><~+~cr,--                                                  Alleged Perpetrator:                  - -s=~".'.-.
        Care

        r Past Abuse/Neglect Not to ORR            r Abuse In Home Country                                                         r Abuse On Journey
        Care                                       r N eg Iect/A6and onment"m the Home Country                                     r N egI ect/A6a n d onment i n the United States

                                                   r Ahuse In United5tates                                                         r Other

                                                   r Abuse In DHS Custody                                                         Specify:

                                                        r Physical Abuse In ICE Custody

                                                        r Sexual Abuse In ICE Custody

                                                        r Physical Abuse In CBP Custody

                                                        r Sexual Abuse In CBP Custody

                                                        r Other

                                                       Specify:

        r Major Behavioral Incidents that          r Possession/Use of a Weapon                                                    r Physical Aggression/Harm to Others
        threaten safety                            r Suicidal Ideation                                                             r Use of Drugs and/or Alcohol in ORR Custody

                                                   r Verbal Aggression                                                             r Self-injurious Behaviors/Self Mutilation

                                                   r Other                                                                         r Suicide Attempt/Gesture

                                                   Specify:

        r Runaway                                  r Runaway                              r Attempted Runaway

        r Incidents Involving Law                  r Search                                                                        r Investigate/Response
        Enforcement                                                                                                                r Arrest
                                                   r Interview

                                                   r Other

                                                   Specify:

        r Safety Measures                          r One-on-One Supervision                               r Use of Restraints                             r Pat-Down or Other Searches

        r Criminal History                         r Significant Criminal History in Home Country

                                                   r Significant Criminal History in United States

                                                   r Other

                                                   Specify:

        r Pregnancy Related                         C" Pregnancy                            ~' Childbirth                       (~ Termination Request
        Issues                                          Please describe how the pregnancy occurred and if there are any medical complications related to the pregnancy:

        r Other                                    r Contact or Threats to UC while in ORR Care(from smuggling syndicates, organized crime, other criminal actors)

                                                   r O[her

                                                   Specify:

        Inddent Infametbn:
        Did the incident take place at another      C~ Ves r No Care Provider Name:                  -select Provider Name --
        care provider facility?
                                                                    Care Provider City:        `"~e" °f poide1 ~'~', ~ Care Provider State: ~~~=-~ ~'~°~"'~'~ s,.31°

        Location of Incident:                             school Area           Date Reported To Care                 11/io/x017                    Time Reported To Care                  09:40 AM

                                                                                Provider:                                                           Provider:

        School Area:                                      On-Sice                Date Reported To ORR:                11/1o/2o17                    Time Reported To ORR:                  09:ao AM



        U Desalpdon of Incident(History)



         1C was removed for Disruptive/threatening behavior. Pending full investigation. Follow             11/13/2017 6:30:17 PM                                 etwigg

         ip will be provided in a SIR addendum.

        Description of Incident:(Full Description On 11/10/17 at 9:40 AM, residents of Alpha Pod were participating in school programming. UC                                              had been given several
        of Incident)                               warnings due to disruptive behavior. UC was asked to leave the classroom and return to his room for a timeout. UC refused to return to his
                                                   room. Multiple staff verbally directed UC to enter his room several times. UC continued to yell, curse, and ball his fists up in a threatening
                                                   manner. After all less intrusive measures were exhausted, UC was placed in a physical restraint by Mr. Berkley, Resident Supervisor, to



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                                                 ensure the safety of the UC, staff, and other minors in the program. Mr. Berkley transferred the Physical restraint to Mr. Marable, Resident
                                                 Supervisor, during the transfer, UC punched Mr. Marable in the stomach. UC attempted to kick and bite staff. Due to the continued assaultive
                                                 intentions of the minor, UC was placed in mechanical restraints to ensure the safety of the UC, staff, and other minors in the program. At
                                                 9:51 AM, UC started to bang his head on the concrete slab of his bed, causing marks on his head and minor bleeding. At 9:53, UC continued
                                                 to hit his head on the slab and staled "I am going to blame this on you". At 10:01, UC started to turn his wrists aggressively, tightening the
                                                 mechanical restraint. Staff asked UC if he would permit them to adjust the mechanical restraint to loosen it but UC refused. At 10:05, UC
                                                 stated "I am going to say you did this to me", referring to the marks on his wrists from the tightening mechanical restraints. At 10:20, UC was
                                                 calm and staff were able to release UC from all restraints and exit the room. At this time, staff informed UC that he was removed from regular
                                                 programing for threatening and disruptive behavior.

     Was the UAC of Anyone Else injufed?:             f.yes(" No                                Spe[ify: UC had self InFlicted injuries on his forehead and wrists. UC refu
     Actions Taken
     u StaHResponse and intervention(History)


     LPending full investigation. Follow up will be provided in a SIR addendum.                      111/13/2017 6:30:17 PM                              letwigg                                  i
     Staff Response and Intervention             On 11/10/17 at 9:40 AM, staff redirected UC                            several times for disruptive behavior during school programming. Ms.
                                                 Leos asked UC to return to his room for a timeout. UC refused and began to act in a threatening manner. Staff made several attempts to
                                                 verbally redirect UC to enter his room. Mr. Berkley placed UC in a physical restraint escorted him to his room. Once in his room, Mr. Berkley
                                                 passed on the physical restraint to Mr. Marable. UC became assaultive and Mr. Berkley placed UC in mechanical restraints. UC started to
                                                 engage in self-harm behaviors such as banging his head on his bunk and tightening his mechanical restraints. StafF offered medical
                                                 attention for these injuries but UC refused. UC reported that he would blame these injuries on the staff. Staff noted these comments. When UC
                                                 was calm, staff released him from all restraints and exited the roam. Once the door was secured, Staff informed UC that he was removed
                                                 from regular programming for threatening and disruptive behavior. Medical staff followed up with UC about his injuries. UC refused medical
                                                 attention.
                                                    _._ _.__ _          _
         Fotbw-uP and/or Rewiution(Hhtory)


     Pending full investigation. Follow up will be provided in a SIR addendum.                        11/13/2017 6:30:17 PM                               etwigg
     Follow-up and/or Resolution:                In accordance with the Shenandoah Valley Juvenile Center's behavioral management policy, UC                                  was removed from
                                                 regular programming for threatening snd disruptive behavior. UC's behavior will be continually evaluated in order to expedite minor's
                                                 reintegration into regular programming while maintaining the safety of UC, Staff and other minors in the program. Following reintegration,
                                                 Clinician and Case Manager will meet with UC to discuss safety concerns and behavioral management. Follow up will 6e documented in
                                                 UC's individual progress notes and case manager notes. SV1C Medical staff will follow up regarding UC's medical needs fallowing the
                                                 incident.
         Reaommendatlons(History)


     Pending full investigation. Follow up will be provided in a SIR addendum.                        11/13/2017 6:30:17 PM                               etWigg
     Recommendations:                            It is recommended that UC                           continue to receive case management, clinical, legal, and medical services.
     Reporting:

     Reported To State Licensing:                C' yes r No                       Date of Report:                                                      Time of Report:
     Was the Incident Investigated?              C' Yes C: No           Date Notified the Incident                                        Case/Confirmation Number:
                                                                        will be investigated:
     Explain
     ~~I Progress of Investigation (History)

     U Results/Findings of Investigation (History):

     Results/Findings of Investigation:
     Attath Reports/Findings:

     IS CPS Different From State Licensing:       f: Yes fNo

     Reported To CPS:                           (' Yes C•~ No                      Date of Report:                                                   Time of Report:
     Was the Incident Investigated?              C' Yes C•' No          Date Notified the Incident                                    Case/ConTirmation Number:
                                                                        will be investigated:
     Explain

     Results/Findings of Investigation:
     Attach Reports/Findings:

     Reported To Local Law Enforcement:         (' Ves C•~ No                      Date of Report:                                                   Time of Report:

                                                                                   Officer Name:                                                      Officer Badge:
     Was the Incident Investigated?              f" Yes C•~ No          Date Notified the Incident                                    Case/Confirmation Number:
                                                                        will be investigated:
     Explain
     ~~ progress of Investlgation (History)

     U Results/Findings of Investlga[lon (History):

     Results/Findings of Investigation:
     Attach Reports/Findings:

     ORR Notiflutlons:




                                                 Rachel Jacobs              ~ORR/PO                ~Il/10/2017          X09:40 AM             ~rachel.jacobs~acf.hhs.gov~2024012332

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                                                                  Medical Coordinator

                                     Patricia Melendres           Case Coordinator        li/1OJ2017       09:40 AM         patricla.melendres~gdit.c 4935876557

                                     Mark Bennett                 CFS                     11/10/2017       09:40 AM         mark.bennett@acf.hhs.gov 2024014827

                                     SIR Hotline                  SIR Hotline             11/10/2017       09:40 AM         sirhotline@acf.hhs.gov    2024015709

     Other Notfiptions

     Is this an SIR for a Runaway?   (' Yes (~ No

                                     Title                 Name                 Date Notified   Time Notified     Method of Notification   Specify




                                     Staff Filing Report           E Trantham                   Assistant Supervisor      etrantham@svjc.org         5408860729

                                     Contact for Follow-Up         ERopp                        Cliclian                  eropp~svjc.org             5A08860729




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                                         First Name:                                                                         Status:                            ADMIRED
                                         Last Name:                                                                          AKA:                               BC:
                                         Date of Birth:                                                                      Gender:                            M
                                         A Na.:                         217983478                                            LOS:                               51
                                         Age:                           16                                                   LOC:                               186
                                         Child's Country of Birth:      Mexico                                               Current Program:                   Shenandoah Valley Juvenile Center
                                         Admitted Date:                 9/30/2017                                            Current Location:                  Staunton, VA
                                                                        5/17/2017
                                         ORR Placement Date:


    Event Type:        Sift Event
    Date of Event:     11/18/2017                                    Time of Event: 06:18 PM                                                Event ID:             114215


    Synopsis of        UC was removed from program for FTO/threatening behavior
    Event:


     C~ Emergenty 5lR                     f~ SIR

    SIR

     r Abuse/Neglect in ORR                                        --5ala<t--                                                      Alleged Perpetrator:                    ~-SfdP.i-

     Care

     r Past Abuse/Neglect Not in ORR              ~'" Ahuse In Home Country                                                    r Abuse On Journey
     Care                                         ~" Neglect/Ahandonmen[ in the Home Country                                   r NegIect/Aband onment"in the U ni'ted States

                                                  r Abuse In UnitedStates                                                      r Other
                                                  r Abuse In OHS Custody                                                      Specify;

                                                      r Physical Abuse In ICE Custody

                                                      r Sexual Ahuse In ICE Custody
                                                      r Physical Abuse In CBP Custody
                                                      r Sexual Abuse In CBP Custody

                                                      r Other
                                                      Specify:

     r Major Behavioral Incidents that            r Possession/Use of a Weapon                                                  r Physical Aggression/Harm to Others
     threaten safety                              r Suicidal Ideation                                                           r Use of Drugs and/or Alcohol in ORR Custody

                                                  ~ Verbal Aggression                                                           r Self-injurious Behaviors/Self Mutilation

                                                  r Other                                                                       r Suicide Attempt/Gesture

                                                 Specify:

     r Runaway                                    r Runaway                         r Attempted Runaway

     r Incidents Involving Law                    r Search                                                                      r Investigate/Response
     Enforcement                                  r Interview                                                                   r Arrest

                                                  r Other
                                                 Specify:

     r Safety Measures                            r One-on-One Supervision                           r Use of Restraints                                r Pat-Dawn or Other Searches

     r Criminal History                           r Significant Criminal History in Home Country

                                                  r Significant Criminal History in United States
                                                  r Other

                                                 Specify:

     r Pfegnan[y Related                         (' Pregnancy                        ~' Childbirth                            ~' Termination Request
     Issues                                            Please describe how the pregnancy occurred and if there are any medical complications related to the pregnancy:

     r Other                                      r Contact ar Threats to UC while in ORR Care(from smuggling syndicates, organized crime, other criminal actors)

                                                  r Other
                                                 Specify:

     Inddent InformaUan:
     Did the incident take place at another       (` Ves l3 No dare Provider Name:             -sele~c v~ovider Name-
     careprovider facility?                                                            -. sei~, i v~ov~d,: ~ ciL ~- Care Provider State:- s.~i~a r,,.~~„~~,~ ~,:._:...
                                                                 Care Provider City:

     Location of Incident:                     Housing area       Date Reported To Care Provider:            11/ie/xo17                      Time Reported To Care Provider:           ob:ia vM

     Other Specify:                    alpha                       Date Reported To ORR:                     11/ie/z017                      Time Reported To ORR:                     o9:i5 van



    0 Oesuipdon of Incident(Hiswry)




     Description of Incident:(Full Description On 11/18/17 at 6:15 PM, residents of Alpha Pod were participating in daily cleaning. UC                                         had not earned enough
     of Incident)                                behavioral points throughout the day to participate in regular programming that evening. Fallowing cleaning, UC was refused to enter his
                                                 room. Staff redirected UC severe) times directing him to enter his room willingly. UC became upset and shift supervisors were called to speak
                                                 with UC. Ms. Thacker, Assistant Shift Supervisor, and Ms. Bolen, Shift Supervisor attempted to verbally redirect UC with no success. After less
                                                 intrusive measures were exhausted, Mr. Rose and Mr. Smith, Resident Supervisors, placed UC in a physical restraint to ensure the safety of


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                                                the UC, staff, and other minors in the program. UC struggled against[he restraint and attempted to hit, kick, and spit on staff. Due to the
                                                 physical aggression displayed by UC, UC was placed on the floor by staff. UC ten attempted [o head but staff. UC Continued to act in an
                                                aggressive manner, even telling other minors[o "go off". At 6:22, Staf( placed UC in mechanical restraints to ensure the safety of the UC, staff,
                                                and other minors in the program. UC then began to twist his wrists in the mechanical restraints, marking his skin. Staff attempted to double
                                                lack the cuffs to loosen them. UC resisted staff efforts to loosen the cuff and continued to act aggressively. At 6:33, after several attempts to
                                                 help UC calm down, UC was placed in the restraint chair to ensure his awn safety, the safety of staff, and the safety of other minors in the
                                                 program. As he was being place in the chair, UC head-butted the wall and chewed a hole in the spit mask. UC spat through this hole directly
                                                in the face of Ms. Bolen. Once UC was secured in the chair, UC was taken to a separate room to cool down under direct supervision. UC
                                                continued to threaten and curse staff. UC repeated "wait until I tell everyone what you did, I am going to get you." UC also stated that he had
                                                 not hit anyone while on camera and that everything in his room was no on camera. At 8:03, UC had calmed down and was able to be
                                                 released form the restraint chair. Once UC was secured in his roam, staff informed him that he had been removed from regular programming
                                                for failure to obey and threatening behavior.

     Was the UAC or Anyone Else Injured?:             C. Yes !' No                              $Pe~j(y; UC complained of Left hand and shoulder pain. Cuts on wrists.

    Actions Taken
    U Statt Response and Intervention (History)


     Pending full investigation. Fallow up will be provided in a SIR Addendum.                       111/20/2017 5:06:24 PM                           letwigg
    Staff Response and Intervent(on              On 11/18/17 at 6:15 PM,staff redirected UG                           several times to comply with direction to enter his room. After continued
                                                 noncompliance, Staff placed UC in a physical restraint. Due to continued physical aggression by UC, staff placed UC in mechanical
                                                 restraints. UC continued to act aggressively and staff received permission to place UC in the mechanical restraint chair. Staff placed UC in
                                                 the restraint chair and supervised him until he had calmed down. Staff took note of their observations of UC's comments and behaviors to
                                                 report to supervisors. Following the incident, staff offered UC medical attention for the marks an his wrists and pain in his left hand and
                                                shoulder.

    U Follow-up and/or Rewludon (History)


     Pending full investigation. Follow up will be provided in a SIR Addendum.                       111/20/2017 5:06:24 PM                           Ielwigg
    Follow-up and/or Resolution:                 In accordance with the Shenandoah Valley Juvenile Center's behavioral management policy, UC                               was removed from
                                                 regular programming for threatening and disruptive behavior. UC's behavior will be continually evaluated in order to expedite minor's
                                                 reintegration into regular programming while maintaining the safety of UC, Staff and other minors in the program. Following reintegration,
                                                 Clinician and Case Manager will meet with UC to discuss safety concerns and behavioral management. Follow up will be documented in
                                                 UC's individual progress notes and case manager notes. SV1C Medical staff will follow up regarding UC's medical needs following [he
                                                 incident.
         Recommendatlonz(History


     Lending full investigation. Follow up will be provided in a SIR Addendum                        111/20/20175:06:24 PM                             etwigg     _.___...__.____
    Recommendations:                             It is recommended that UC                           continue to receive case management, clinical, legal, and medical services.
    ReP~ing:

     Reported To State Licensing:                fVes C•' No                       Date of Report:                                                    Time of Report:

     Was the Incident Investigated?             !' Yes C•' No          Date Notified the Incident                                       Case/Confirmation Number:
                                                                       will be investigated:
     Explain
     ~~~ Vrogress of Investigation (History)

     L~ pesulu/Findings of Investigation (History):

     Results/Findings of Investigation:
     Attach Reports/Findings:

     Is CPS Different From State Licensing:       G Yes (~ No

     Reported To CPS:                            !" Yes C•' No                     Date of Report:                                                 Time of Report:

     Was the Incident Investigated?             (" Yes C•' No          Date Notified the Incident                                    Case/Confirmation Number:
                                                                       will he investigated:
     Explain

     Results/Findings of Investigation
     Attach Reports/Findings:

     Reported To Local Law Enforcement:          (~ Yes (~ No                      Date of Report:                                                 Time of Report:

                                                                                   Officer Name:                                                    Officer Badge:
     Was the Incident Investigated?               C' Yes C•' No         Date Notified the Incident                                   Case/Confirmation Number:
                                                                        will be investigated:
     Explain
     L.1 Progress of InVadgetlon (History)

     C~ Rewlts/Flndin~s of Investl6adon (History:                           ...

     Results/Findings of Investigation:
     Attach Reports/Findings:

     OAR Notiflcatlons:



                                                           Mansilla          ORR/FFS                 11/18/2017         09:25 PM             jessie.mansilla@acf.

                                                           Gainer            ORR/PO                  11/18/2017         09:25 PM             rachel.gainer~Dacf.hl


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                                                                Medical Coordinator

                                    Patricia Melendres          Case Coordinator        11/18/2017       09:25 PM            patricla.melendres~9gdit.c x035876557

                                    Mark Bennett                CFS                     11/18/2017       09:25 PM            mark.bennett@acf.hhs.gov 2024014827

                                    SIR Hotline    ~            SIR Hotline             11/18/2017       09:25 PM            sfrhotline@acf.hhs.gov     2024015709

    Other NatifiraUons:

    Is th(s an SIR for a Runaway?   (" Ves r No

                                    Title                Name                 Date Notified   Time Notified        Method of Notification    Specify




                                    Staff Filing Repot           Kristopher Kann              Shift Supervisor             kka nn@svjc.org             5405860729

                                    Contact for Follow-Up        Elizabeth Ropp               ORft/DCS lead case           eropp@svjc.org              5408860729
                                                                                              manager




Case 5:17-cv-00097-EKD-JCH Document 45-3 Filed 03/21/18 Page 15 of 23 Pageid#: 561
                                                                                                                                                                                                    EXHIBIT
                                                                                                                                                                                           a
                                                                                                                                                                                           a
                                          First Name:                                                                         Status:                            ADMITTED                  .9       C"'~F
                                          Last Name:                                                                          AKA:
                                          Date of Birth:                                                                      Gender:                            M
                                          A No.:                         212983478                                            LOS:                              16
                                          Age:                           16                                                   LOC:                               151
                                          Child's Country of Birth:      Mexico                                               Current Program:                  Shenandoah Valley Juvenile Center
                                          Admitted Date:                 9/30{2017                                            Current Location:                 Staunton, VA
                                                                         5/17/2017
                                          ORR Placement Date:


     Event Type:    SIR Event
     Date of Event: 10/16/2017                                        Time of Event: 09:15 AM                                                Event ID:            110158

    Synopsis of        Disruptive and Threatening Behavior, Self Harm
    Event:


    (' Emergency 5lR                      (~' SIR
    SIR

            Abuse/Neglect in ORR                                  Physical Abuse                                                    Alleged Perpetrator:                   Program Staff
     Care

     r Past Abuse/Neglect Not in ORR             r Abuse In Home Country                                                        r Abuse On Journey
     Care                                        r    Neglect/Abandonment in the Home Country                                   r     Neglect/A6andonment m th e Umted 5tales
                                                 r Abuse In UnitedStates                                                        r Other
                                                 r Abuse In DHS Custody                                                        Specify:

                                                      r Physical Abuse In ICE Custody
                                                      r Sexual Abuse In ICE Custody
                                                      r Physical Abuse In C8P Custody
                                                      r Sexual Abuse In CBP Custody
                                                      r Other
                                                     Specify:

     ~/ Major BeMvioral lnc(dents that           r Possession/Use of a Weapon                                                    R Physical Aggression/Harm to Others
     threaten safety                             r Suicidal Ideation                                                            r Use of Drugs and/or Alcohol in ORR Custody
                                                 R Verbal Aggression                                                             R Self-injurious Behaviors/Self Mutilation
                                                 R Other                                                                        r Suicide Attempt/6esture
                                                 Specify: Threatening hehavlor

     r Runaway                                   r Runaway                           r Attempted Runaway
     r Incidents Involving Law                   r Search                                                                       r Investigate/Response
     Enforcement                                 r Interview                                                                    r Arrest
                                                 r Other
                                                 Specify:
     r Safety Measures                           r One-on-One Supervision                             r Use of Restraints                                r Pat-Down or Other Searches

     r Criminal History                          r Significant Criminal History in Home Country
                                                 r Significant Criminal History in United States
                                                 r Other
                                                 Specify:

     r Pregnancy Related                         (" Pregnancy                          ~' Child birth                         r Termination Request
     Issues                                           Please describe how the pregnancy occurred and if there are any medical complications related to the pregnancy:

     r Other                                     r Contact or Threats to UC while in ORR Care (from smuggling syndicates, organised crime, other criminal actors)
                                                  r Other
                                                 Specify:

     IncidentlnfotmaUon:
     Oid the incident take place at another      (' Yes (~ No Care Provider Name:                —sele~c rravider rvame—
     care provider facility?
                                                                  Care Provider City:      -~- ~~' ~ ~fO'^~':: `-~~~ Care Provider State: ~°'~':•'-' °'":':,~"' `"'"

      Location of Incident:                             school n.ea        Date Reported To Care                   io/ie/zoi~                     Time Reported To Care                10:51 AM

                                                                           Provider:                                                              Provider:
      School Area:                                      On-Site            Date Reported To ORR:                   10/16/2017                     Time Reported To ORR:                02:30 PM



     Description of Incident:(Full Description UC was given atime-out while attending school for being disrespectful towards a teacher (e.g. calling her a "pinche puta." Once UC was in
     of Incidents                                the hall, he sat down on the floor against the wall while stating that he "was not going to his room far a fucking time out that he did not
                                                 need." Floor staff notified Assistant Shift Supervisors Mr. Moats and Ms. Thacker, as well as Shik Supervisor Ms. Craft. Supervisors
                                                 attempted to talk UC into walking to his room for the time out; UC continued [o refuse and stated that he "did not need a fucking time out."
                                                 Floor Staff, Mr. Landaeta, was requested to translate and also encouraged UC to go to his room. UC continued to refuse with staff's
                                                 directions and became louder, belligerent, and was observed balling his right fist up while telling staff to "not fucking touch me." Due to UC's
                                                 continual disregard to less intrusive interventions, Moats and Floor Staff, Mr. Rose, attempted to place UC in a two man PRT as he was
                                                 sitting on the floor against the wall. UC resisted while trying to kick and hit staff. Landaeta assisted with the PRT as Floor Staff, Mr. Ewing,
                                                 took hold of UC's legs. UC was then turned over on his stomach and handcuffs were applied. UC continued to resist and threaten staff

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                                              throughout entire restraint. 11C was lifted by Moats and Landaeta and escorted to his room. UC cursed and threatened Moats and Landaeta
                                              while being escorted. Once at UC's room door, UC attempted to spit on Moats's face while further resisting and kicking. UC was placed on his
                                              bunk on his stomach and handcuffs were removed. Staff exited the room once UC was calm enough. UC was in a 7RT and handcuffs for
                                              approximately 3 minutes. Thacker contacted Clinician, Andrew Mayles, to speak with UC once he was secured in his room. Mayles arrived to
                                              UC's room door and saw that UC had ripped up his shirt and pants as well as began to bite his left forearms while sitting on the floor.
                                              Mayles attempted to engage with UC but was unsuccessful, as UC continued to rip his clothes and bite his arms while spitting out a mixture
                                              of blood and saliva. UC refused to talk to Mayles and was observed tying string from his ripped clothes around his left wrist. Mayles also
                                              observed UC kneeling towards his room bench and lightly bang his head on bench.

     Was the UC or Anyone Else Injuredi:        r Yes r No                                   Specify: Pease see below in staff response/follow up sections

    Actions Taken
    Staff Response and Intervention           Mayles informed UC's assigned clinician, Evenor Aleman, regarding the events that occurred since UC was secured in his room. Aleman
                                              arrived at UC's roam and witnessed UC siting against his room. Aleman attempted to engage UC and voiced concerned regarding his self-
                                              harm behavior. UC was initially silent but eventually began to speak. UC was tearful and irritable throughout entire conversation. Without
                                              prompt, UC untied the string around his left forearm. UC voiced anger towards staff and facility for his removal. UC allowed Aleman to see
                                              the self-inflicted bite marks on left forearm. UC's bites appeared superficial, which no significant teeth markings. UC made allegations that
                                              staff assaulted him while being placed in his room. Aleman voiced further concern and asked UC to provide further insight on allegations.
                                              UC stated that the staff had forcefully placed him on his stomach on room bench, causing injury [o his right collar bone area. UC also
                                              claimed that staff had "stabbed" him with a pen on the right side of his rib cage. It is important to note that UC had no ink marks or any sign
                                              of perforation on the skin of his rib cage or elsewhere on his body. However, UC appeared to have redness on collar bone area. While talking
                                              with Aleman, UC made vague threats towards the staff involved in removal. Aleman encouraged UC to not take matters into his own hands
                                              and that he would report his injuries and allegations to appropriate parties.
     Follow-up and/or Resolution:             Aleman informed SV1C Program Manager Jason Klingensmith regarding allegations made by UC. Aleman informed nursing staff about
                                              injuries reported by UC. At 01:18 PM, Nurse, Lisa Anderson, met with           along with Mr. Oldham and Mr. Pacheco, floor Staff; Aleman
                                              acted as an interpreter. UC reported pain from his collar bone area as well as pain around his wrists, where handcuffs were placed. Both
                                              areas appeared red while UC's collar bone area appeared to have small abrasions. UC did not report any pain regarding his ribcage area.
                                              Anderson provided UC two Ibuprofen 200mg for reported pain. In accordance with the Shenandoah Valley Juvenile Center's behavioral
                                              management policy, UC                     was removed from regular programing for threatening behavior and disruptive behavior. UC's
                                              behavior will be continually evaluated in order to expedite UC's reintegration into regular programming while maintaining the safety of UC,
                                              resident supervisor and other minors in the program. Removal from programming will not exceed 24 hours, without administrative
                                              approval. Following reintegration, Clinician and Case Manager will meet with UC to discuss safety concerns and behavioral management.
                                              Follow up will 6e documented in UC's individual progress notes and case manager notes.
     Recommendations:                         It is recommended that UC continue to receive case management, clinical, legal, and medical services.
     RePorHag

     Reported To State Licensing:             fVes (•' No                       Date of Report:                                                   Time of Report:

     Was the Incident Investigated?           (' Ves (•' No          Date Notified the Incident                                     Case/Confirmation Number:
                                                                     will 6e investigated:
     Explain

     Results/Findings of Investigation:
     Attach Reports/Findings:

     I5 CPS Different From State Licensing:   (: Yes (~ No

     Reported To CPS:                         f: Yes (" No                      Date of Report: 1x/16/2017                                     Time of Report: o2:oo PM

     Was the Incident Investigated?           (" Ves fNo             Date Notified the Incident                                  Case/Confirmation Number: sending
                                                                     will 6e investigated:
     Explain                                  Clinician filed report with local CPS. Information provided to Jamie Sullivan at 02:OOPM.

     Results/Findings of Investigation:
     Attach Reports/Findings:

     Reported 7o Local Law Enforcement:       C' yes (~ No                      Date of Report:                                                Time of Report:

                                                                                Officer Name:                                                    Officer Badge:

     Was the Incident Investigated?           fVes f? No             Date Notified the Incident                                   Case/Confirmation Number:
                                                                     will 6e investigated:
     Explain

     Results/Findings of Investigation:
     Attach Reports/Findings:

     ORR Notiflcedons:



                                               Jessie Mansilla           ORR/FFS                  10/16/2017         02:30 PM             lessie.Mansilla@acf.hhs.g 4024014844

                                               Rachel Jacobs             ORR/PO                   10/16/2017         02:30 PM             rachel.Jaco6s~acf.hhs.gov 2024012332

                                                                          Medical Coordinator

                                               Patricia Melendres        Case Coord(nator         10/16/2017         02:30 PM             patricla.melendres~gdlt.c 4035876557

                                               Mark Bennett              CFS                      10/16/2017         02:30 PM             mark.bennett@acf.hhs.gov 2022605738

                                               DCS Hotline               SIR Hotline              10/16/2017         02:30 PM             sirhotltne~alacf.hhs.gov   2025075709

                                               Rebecca Schreuder          GDIT Supervisor         1OJ16/2017         02:30 PM             rehecca.schreuder@gdit.co 475520202

     Other NatHlatlons
     Is this an SIR for a Runaway?             (~ Yes fNo



                                               ICE Juvenile                                                                   PhOf12

Case 5:17-cv-00097-EKD-JCH Document 45-3 Filed 03/21/18 Page 17 of 23 Pageid#: 563
     Reporter and Follow-Up Contact:
                                       I~~~«~~~at~~ —J__         ___l _ _ _I _             ___l_

                                       Staff filing Repor[     Evenor Aleman   ORR Clinician       ealeman@svjc.org   5408860729

                                       Contact for Follow-Up   Evenor Aleman   ORft Clincian       ealeman@svjc.org   5408860729




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                                                                                                                                                                                                   EXHIBIT
                                                                                                                                                                                          a
                                                                                                                                                                                          a         C-5
                                         First Name:                                                                          Status:                          ADMITTED
                                         Last Name:                                                                           AKA:
                                        I~ Date of Birth:                                                                     Gender:                          M
                                        ~ A No.:                           213071578                                          LOS:                             6Z
                                         Age:                              15                                                 LOC:                             90
                                         Child's Country of Birth:         Honduras                                           Current Program:                 Shenandoah Valley Juvenile Center
                                         Admitted Date:                    8/4/1017                                           Current Location:                Staunton, VA
                                                                           7/17/2017
                                         ORR Placement Date:


     Event Type:    SIR Event
     Date of Event: 10/5/2017                                          Time of Event: 08:48 AM                                              Event ID:           109312

    Synopsis of        On 10/05/17 at 8:48 AM, UC was removed from regular programming for disruptive and threatening behavior
    Event:


    (' Emergency SIR                      (~' SIR
    SIR

     r Abuse/Neglect in ORR                                           ---Seie:a—                                                    Alleged Perpetrator:                  --Se!err -
     Care

     r Past Abuse/Neglect Not in ORR            ~" A6use In Home Country                                                        r Abuse On Journey
     Care                                       r     Neglect/Abandonment in the Home Country                                   r    NegI ect/A6and onment in the U~
                                                                                                                                                                   nited 5fates
                                                r Abuse In UnitedStates                                                         r Other
                                                r Abuse In DHS Custody                                                         Specify:

                                                      r Physical Abuse In ICE Custody
                                                      r Sexual Abuse In ICE Custody
                                                      r Physical Abuse In C8P Custody
                                                      r Sexual Abuse In CBP Custody
                                                      r Other
                                                      Specify:

     ~ Major Behaviorel Incidents that          r Possession/Use of a Weapon                                                    r Physical Aggression/Harm to Others
     threaten safety                            r Suicidal Ideation                                                             r Use of Drugs and/or Alcohol in ORR Custody
                                                r Verbal Aggression                                                             r Self-injurious Behaviors/Self Mutilation
                                                R Other                                                                         r Suicide Attempt/Gesture
                                                SpeClfy: threatening hehavior, disruptive hehaviar
     r Runaway                                  r Runaway                              r Attempted Runaway
     r Incidents Involving Law                  r Search                                                                        r Investigate/Response
     Enforcement                                r Interview                                                                     r Arrest
                                                r Other
                                                Specify:
     r Safety Measures                          r One-on-One Supervision                               r Use of Restraints                              r Pat-Down or Other Searches

     r Criminal History                         (~ Significant Criminal History in Home Country
                                                r Significant Criminal History in United States
                                                r Other
                                                Specify:

     r Pregnanry Related                        (' Pregnancy                            ~' Chiid birth                        ~' Termination Request
     Issues                                           Please describe how the pregnancy occurred and if there are any medical complications related to the pregnancy:

     r Other                                    r Contact or Threats to UC while in ORR Care(from smuggling syndicates, organized crime, other criminal actors)
                                                r Other
                                                Specify:

     Indde'rt IMormatbn:
     Did the incident take place at another     (' Ves (~ No Care Provider Name:                  -- select vrovider Name--
     eare Provider fadliry7                                                                 s~!<n i>~o~,d~~ on -- Care Provider State: ~ `- ~ -e n:,.:,;,., ;,~.:.
                                                                    Care Provider City:

      Location of Incident:                     other                Date Reported To Care Pfovider:           10/5/2077                     Time Reported To Care Provider:           o9:3a AM

      Other SpeciTy:                   Main Hallway                   Date Reported Ta ORR:                    10/5/2017                     Time Reported To ORR:                     11:15 AM



     Description of Incident:(Full Description On 10/05/17 at 8:48 AM, residents of Alpha Pod were in route to the multi-purpose room for art class. Siaff verhally redirected UC
     of Incidents                                                several times for pulling on the doors and talking in the hallway. UC continued to talk and curse staff on the way to the multi-
                                                purpose room. Mr. Mahiri, Resident Supervisor, verbally directed UC to return to his room for a timeout and cool down due to disrespectful
                                                and threatening behavior. UC and Mr. Mahiri began to walk down the hallway towards Alpha Pod. UC stopped outside of the supervisor's
                                                office when he saw Mr. Klingensmith, Program Manager. Mr. Mahrihi verbally redirected UC several times for his behavior and asked him to
                                                keep walking. Due to continued noncompliance with verbal intervention, UC was placed in a physical restreint to ensure the safely of the UC,
                                                staff, and other minors in the program. UC struggled against the restraint causing both he and the staff to fall to the ground. UC and Mr.
                                                Mahiri were able to get in their feet and Mr. Mahiri escorted UC to Alpha Pod. UC was placed in his room with no further incident. Once the
                                                door was secured, Mr. Mahiri informed UC that he was removed from regular programming for disruptive behavior and threatening
                                                behavior.

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     Was the UC or Anyone Else Injured7~      (' Yes (~ No                                  Spe[ify: There were no in)uries repor[ed from [his event.

    Actions Taken
    Staff Response and Intervention          On 10/05/17 at 8:48 AM, staff verbally redirected UC                             far his behavior in the hallway. UC continued to be
                                             noncompliant and Mr. Mahiri instructed UC to return to his room for a timeout. As UC and Mr. Mahiri were walking down the hallway, UC
                                             stopped outside of the shift supervisor's office. Mr. Mahiri verbally redirected UC several times to continue walking. UC continued to refuse
                                             and Mr. Mahiri placed UC in a physical restraint and escorted him to his room. Once the room was secured, Mr. Mahiri informed UC that he
                                             was removed from regular programming for disruptive behavior and threatening behavior.
    Follow-up and/or Resolution:             In accordance with the Shenandoah Valley Juvenile Center's behavioral management policy, UC                                was removed from
                                             regular programming for disruptive behavior and threatening behavior. UC's behavior will be continually evaluated in order to expedite
                                             minor's reintegration Into regular programming while maintaining the safety of UC, staff and other minors in the program. Following
                                             reintegration, Clinician and Case Manager will meet with UC to discuss safety concerns and behavioral management. Follow up will be
                                             documented in UC's individual progress notes and case manager notes.
    Recommendations:                         It is recommended that UC                            continue to receive case management, clinical, legal, and medical services
    Reporting:

     Reported 7o State Licensing:            (' Yes (~" No                     Date of Report:                                                    Time of Report:

     Was the Incident Investigated?          (' Yes (•~ No          Date Notified the Incident                                      Case/Confirmation Number:
                                                                    will be investigated:

    Explain

    Results/Findings of Investigation:
     Attach Reports/Findings:

    Is CPS Different From State Licensing:   r Yes (" No

     Reported To CPS:                        (' Ves (~ No                      Date of Report:                                                 Time of Report:

     Was the Incident Investigated?          (' Yes f~ No           Date Notified the Incident                                   Case/Confirmation Number:
                                                                    will be investigated:

    Explain

     Results/Findings of Investigation:
     Attach Reports/Findings:

     Reported To Local Law Enforcement:      (` Ves r No                       Date of Report:                                                 Time of Report:

                                                                               Officer Name:                                                    Officer Badge:

     Was the Incident InvestigatedT          (" Yes (•' No          Date Notified the Incident                                   Case/Confirmation Number:
                                                                    will be investigated:

    Explain

     Results/Findings of Investigation:
     Atta[h Reports/Findings:

    ORR Notlficetions:



                                             Jessie Mansilla            ORR/FFS                  10/5/2017          11:15 AM             Jessie.Mansilla@acf.hhs.g 4024014844

                                             Rachel Jacobs Gainor       ORR/PO                   10/5/2017          11:15 AM             rachel.jacobs~acf.hhs.gov 2024012332

                                                                         Medical Coordinator

                                             Patrlca Melendres          Case Coordinator         10/5/2017          11:15 AM             Patricia.Melendres(d~GDIT. dBd5876557

                                              Mark Bennett              CFS                      10/5/2017          11:15 AM             Mark.Bennett@acf.hhs.gov 2024014827

                                             SIR Hotline                SIR Hotline              10/5/20ll          11:15 AM             ~sirhotline~ad.hhs.gov      2024015709
                                                                                _                                                                                                   _
                                              Rebecca 5creuder          GDIT Supervisor          10/5/2017__ _      1LSS AM          ___Irebecca.screuder@GDIT.m      475520202

     O[hef NodFl~tlons:
     Is this an SIR for a Runaway?            fVes f•No



                                             ICE Juvenile                                                                    Phone
                                             Coordinator

     Reporter and Fo11ow~Up Conpc[:



                                             Staff Filing Report          Emily Twigg                  Case Manager                    etwigg@svjc.org              5408860729

                                             Contact for Follow-Up        Emily Twigg                  Gse Manager                     etwigg~svjc.org              5408860729




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                                                                                                                                                                                             EXHIBIT

                                                                                                                                                                                              C-6
                                           First Name:                                                                      Status:                      ADMITTED
                                           Last Name:                                                                       AKA:
                                           Date of Birth:                                                                   Gender:                      M
                                           A No.:                          213071578                                        LOS:                         17
                                           Age:                            14                                               LOC:                         35
                                           Child's Country of Birth:        Honduras                                        Current Program:             Shenandoah Valley Juvenile Cen[er
                                           Admitted Date:                  8/4/2017                                         Current Location:            Staunton, VA
                                                                           ~~17/2017
                                           ORR Placement Date:


     Event Type:    SIR Event
     Date of Event: 8/20/2017                                          Time of Event: 06:00 AM                                          Event ID:         105276


    Synopsis of        UC was removed for Destruction of property
    Event:


     fEmergenty SlR                         C•~ SIR
    SIR

     r Abuse/Neglect in ORR                                           --~~~~F~=r-~                                              Alleged Perpetrator:                - -sE~~°~'-
     Care

     r Past Abuse/Neglect Not in ORR              r Ahuse In Home Country                                                    r Abuse On Journey
     Care                                         r N eg Iect/Ah and onment"in the Home Country                              r NegI ect/A6a ndo n ment in the United States
                                                  r Ahuse In UnitedStates                                                    r Other
                                                  r Abuse In DHS Custody                                                     Specify:

                                                         r Physical Ahuse In ICE Custody

                                                         r Sexual Abuse In ICE Custody
                                                         r Physical Abuse In CBP Custody
                                                         r Sexual Abuse In CBP Custody

                                                         r Other
                                                        Specify:

     r Major Behaviorel Incidents that               r Possession/Use of a Weapon                                            r Physical Aggression/Harm to Others
     threaten safety                                 r Suicidal Ideation                                                     r Use of Drugs and/or Alcohol in ORR Custody

                                                     r Verbal Aggression                                                     r Self-injurious Behaviors/Self MutilaTion
                                                     r Other                                                                 r Suicide Attempt/Gesture
                                                  Specify: Destruction of Property

     r Runaway                                       r Runaway                         r Attempted Runaway

     r Incidents Involving Law                       r Search                                                                 r Investigate/Response
     Enforcement                                     r Interview                                                              r Arrest

                                                     r Other
                                                  Specify:

     r Safety Mea5Ure5                               r One-on-One Supervision                         r Use of Restraints                           r Pat-Down or Other Searches

     r Criminal History                              r Significant Criminal History in Home Country

                                                     r Significant Criminal History in United States

                                                     r Other
                                                  Specify:

     r PfegnanCy Related                             C" Pregnancy                       ~' Child birth                      (~ Termination Request
     Issues                                              Please describe how the pregnancy occurred and if there are any medical complications related to the pregnancy:

     r Other                                         r Contact or Threats to UC while in ORR Care (from smuggling syndicates, organized [rime, other criminal actors)

                                                     r Other

                                                  Specify:

     Inddent Information:
     Did the incident take place at another       (~ Yes l~ No Care Provider Name:               --select rroviaer Name--
     careproviderfatilityT
                                                                    Care Provider City:     `F~E~~~"O~^~n Ot'*Care Provider State: `-"~~'-'*'':°.°'~'s'.9P --

      Location of Incident:                   Housing nrea           Date Reported To Care Provider:         e/zo/zoi~                   Time Reported Ta Care Provider:          ob~~ ~

      Other Specify:                     alpha Pod                   Date Reported To ORR:                   e/zo/2o17                   Time Repotted To ORR:                    07:14 AM



     u Desaiptlon of Incident(History)



      1C was removed for Destruction of Property. Pending full investigation. Follow up will be 8/21/2017 11:13:55 AM                                    etwigg
      provided for in a SIR Addendum.
     Description of Incident:(Full Description On 08/20/17 at 6:00 AM, Residents of Alpha Pod were being undergoing morning count. When called to stand for count, UC
     of Incident)                                         refused to stand or acknowledge staff. Mr. Fields, Assistant Shift Supervisor, entered UC's room to ensure that UC was safe. UC had
                                                  ripped up all of his clothes, bedding, books and other personal items in his room. These items were removed from the room and is was
                                                  confirmed that UC was awake and able to respond. When UC's door was secured, Mr. Fields informed UC that he was removed from regular
                                                  programming for failure to obey and destruction of property. At 8:48 AM, UC covered his window and would not allow staff to complete their


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                                                   15 minute checks. Ms. Statler, Shift Supervisor, and Mr. Uraje, Resident Supervisor, verbally redirected UC for his behavior and requested
                                                   several times [hat he uncover his window. UC continued to refuse. After all less intrusive measures were unsuccessful, staff entered UC's
                                                   room with the shield. UC was restrained by the shield to ensure the safety of the UC, staff, and other minors in the program while staff
                                                   cleared his room of all potentially dangerous items. These items included a full cup of urine and strips of elastic from the waistband of UC's
                                                   boxers. Once the room was cleared, UC was released from the restraint and the door was secured. -Reported by Emily Twigg

     Was the UC or Anyone Eise Injuredi:                C' yes f. No                              Specify:

     Actions Taken

         Sniff Response end Interventlon (History)



      Pending full investigation. Follow up will he provided for in a SIR Addendum.                   8/21/201711:13:55 AM                          etwigg
     Staff Response and Intervention               On 08/20/17, Staff directed UC                         to stand for morning count. UC did not move or acknowledge staff. Mr. Fields entered
                                                   UC's room to ensure his safety and observed that UC has ripped up clothing, bedding, books and other personal items in his room. Mr. Fields
                                                   removed the shredded items and confirmed that UC was awake and able to respond. Mr. Fields exited the room, secured the door, and
                                                   informed UC that he was removed from regular programming for failure to ohey and destruction of property. While UC was removed from
                                                   programming, Staff completed their 15 minute checks. At 8:48, staff called Ms. Statler to come[o [he unit because UC was covering his
                                                   window and not allowing the check to be completed. Ms. Statler and Mr. Uraje verbally redirected UC for this behavior and requested that UC
                                                   remove the cover. After continued noncompliance, staff entered UC's room with the shield and restrained UC while the door cover and other
                                                   potentially dangerous items were removed from the room. Staff released UC from the restraint and exited the room -Reported by Emily Twigg

     ~=~ Follow-up and/or Resolution ~H4Wry)



      Pending full investigation. Follow up will be provided for in a SIR Addendum.                   8/21/2017 11:13:55 AM                         etwigg
     Follow-up and/or Resolution:                  In accordance with the Shenandoah Valley Juvenile Center's behavioral management policy, UC                             was removed from
                                                   regular programming for disruptive destruction of property and failure to obey. UC's behavior will be continually evaluated in order to
                                                   expedite minor's reintegration into regular programming while maintaining the safety of UC, staff and other minors in the program.
                                                   Following reintegration, Clinician and Case Manager will meet with UC to discuss safety concerns and behavioral management. Follow up
                                                   will be documented in UC's individual progress notes and case manager notes. -Reported by Emily Twigg

         Recommendations(History)                                                                                                                                              _          _..



    (Pending full investigation. Follow up will be provided for in a SIR Addendum.                     6/21/2017 11:13:55 AM                        etwigg
     Recommendations:                              It is recommended that UC                           continue to receive case management,clinical, legal, and medical services.- Reported by
                                                   Emily Twigg
     Reportlng:

     Reported To State Licensing:                  C' Yes f~ No                     Date of Report:                                                Time of Report:

     Was the Incident Investigated?               !" Yes f~ No           Date Notified the Incident                                   Case/Confirmation Number:
                                                                         will be investigated:
     Explain

     U progress of Invesdgation (History)

     O Resulu/Findings of Investigation (History):
     Results/Findings of Investigation:
     Attach Reports/Findings:

     IS CPS Different Ffom State LitenSing:        (: Ves C` No

     Reported To CPS:                              C~ Yes (~ No                     Date of Report:                                             Time of Report:

     was the Incident Investigated?               !" yes (•' No          Date Notified the Incident                                Case/Confirmation Number:
                                                                         will be investigated:

     Explain

     Re:ults/Findings of Investigation:
     Attach Reports/Findings:

     Reported To Local Law Enforcement:            f" Yes f•No                      Date of Report:                                             Time of Report:

                                                                                    Officer Name:                                                Officer Badge:

     Was the Incident Investigated?                C' Yes (~ No          Date Notified the Incident                                Case/Confirmation Number:
                                                                         will be investigated:
     Explain

     U Progress of Investlgation (History)

     ~=~ Results/Findings of Investigation (Histary~:

     Results/Findings of Investigation:

     Attach Reports/Findings:

     ORR Notlflcatians:



                                                   Jessie mansilla            ORR/FFS                 8/20/2017         07:16 AM          jessie.mansilla@acf.hhs.g 2024014844

                                                   rachel Jacobs              ORR/PO                  8/20/2017         07:16 AM           rachel.jatobs.acf.hhs.gov   2024012332

                                                                               Medical Coordinator

                                                   Patricia melendres         Case Coordinator        6/20/2037         07:16 AM           patricia.melendres~gdit.c 4035676557

                                                     mark Kennett             CFS                     8/20/2017         07:16 AM           mark.6ennett@acf.hhs.gov 2024014827

                                                   str hotline                SIR Hotline             8/20/2017         07:16 AM          sirhotline@ad.hhs,gov        2024015709


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                                    frebecca schreuder             gdit supervisor    ~S/20/2017       ~07:SG AM          1re6eccaschreuder@gdit.co~1475520202
                                                                                     —1            _. 1       _
     Other Notifi<ationa:

    Is this an SIR for a Runaway?   (" Yes (~ No

                                    Title                   Name              Date Notified   Time Notified      Method of Notification     Specify



                                                                            --~■—




                                            Filing Report           jimmy fields              assistant superviosr       jfields@svjc.org             5408860729

                                            ict for Folbw-Up        elizabeth rope            ORR Case Manager           eropp~svjc.org               5408860729




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